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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA


DENEISE INGRAM, as Legal Guardian for
KAREN CHANDLER,
                                                                  No. 8:09-CV-110
                    Plaintiff,

         v.
                                                       STIPULATION FOR DISMISSAL
COVENANT CARE MIDWEST, INC., d/b/a
NEBRASKA SKILLED NURSING AND
REHABILITATION and COVENANT CARE,
L.L.C.,

                    Defendants.




         Pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(ii) and agreement of the parties,

Plaintiff Deneise Ingram, as Legal Guardian for Karen Chandler (“Plaintiff”), and Defendants

Covenant Care Midwest, Inc., d/b/a Nebraska Skilled Nursing and Rehabilitation and Covenant

Care, LLC (“Defendants”) hereby stipulate to the dismissal of the Complaint (Notice of Removal

Filing No. 1) in the above-captioned matter with prejudice and with each party paying its own

costs.

         Counsel for Defendants has given counsel for Plaintiff permission to use her electronic

signature in filing this Stipulation. See NECivR 11.1(a)(3)(A)(ii).

         Dated this 22nd day of October, 2010.




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                                                 DENEISE INGRAM, as Legal
                                                 Guardian for KAREN CHANDLER,
                                                 Plaintiff


                                           By     s/ Matthew G. Miller
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                                                 (402) 558-4900
                                                 Attorney for Plaintiff

                                                 And

                                                 COVENANT CARE MIDWEST,
                                                 INC., d/b/a NEBRASKA SKILLED
                                                 NURSING AND
                                                 REHABILITATION and
                                                 COVENANT CARE, L.L.C.,
                                                 Defendants


                                           By     s/ Heather H. Anschutz
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                                                 Heather H. Anschutz, #22906
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                                                 And


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Approved in form and substance by:

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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 22, 2010, I electronically filed the foregoing with the
Clerk of the court using the CM/ECF system which sent notification of such filing to the
following:

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                                                    s/ Matthew G. Miller
                                                   Matthew G. Miller




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